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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                   Filed: October 5, 2017

* * * * * * * * * * * * * *
JEFFREY and MEGHAN HEISE,                     *      No. 16-1082V
As parents of L.D.H.,                         *
                                              *
               Petitioners,                   *      Special Master Sanders
                                              *
v.                                            *
                                              *      Joint Stipulation of Dismissal;
SECRETARY OF HEALTH                           *      Vaccine Rule 21(a); No Judgment;
AND HUMAN SERVICES,                           *      Order Concluding Proceedings.
                                              *
          Respondent.                         *
* * * * * * * * * * * * * *

                         ORDER CONCLUDING PROCEEDINGS1

       On October 4, 2017, the parties filed a Joint Stipulation of Dismissal in the above-
captioned case. Stip., ECF No. 30. On October 5, 2017, Petitioners clarified that they seek to
dismiss their claim pursuant to Vaccine Rule 21(a). Status Rep., ECF No. 32.

       Accordingly, under Vaccine Rule 21(a) the above-captioned case is hereby dismissed
without prejudice. The Clerk of the Court is instructed that a judgment shall not enter in the
present case, pursuant to Vaccine Rule 21(a).

       IT IS SO ORDERED.

                                              s/Herbrina D. Sanders
                                              Herbrina D. Sanders
                                              Special Master




1
 This Order shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
